 

U.S. DISTRICI` COUKI`

CHS€3119-Cr-OOOS3-§Ni>aanaiaarrie§B§§MCB award §§OFM

FOR THE NORTHERN DISTRICT OF TE AS

 

 

 

 

 

 

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MAR " l 2019
UNITED sTATEs oF AMERICA §
§ cLERK, U.s.DIsTRICroo
v § CASE No.; 3;19 CR-s§-"S'__DCPWM
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CARoLYN RENA DAvls (02) §

NOTICE REGARDING ENTRY OF A
PLEA OF GUILTY

In the event the Defendant decides at any time before trial to enter a plea of guilty, the United States Magistrate
Judge is authorized, in accordance with United States v. Dees, 125 F.3d 261 (5th Cir. 1997), with the consent of the
Defendant, to conduct the proceedings required by Rule l l, F.R.Cr.P. incident to the making of the plea. If, after conducting
such proceedings, the Magistrate Judge recommends that the plea of guilty be accepted, a presentence investigation and
report will be ordered pursuant to Rule 32, F.R.Cr.P. The assigned United States District Judge will then act on the
Magistrate Judge’s Report and Recommendation and if the plea of guilty is accepted, will adjudicate guilt and schedule a
sentencing hearing at which the District Judge will decide whether to accept or reject any associated plea agreement and
will determine and impose sentence. The Defendant may file written objections to the Magistrate Judge's recommendation
within fourteen (14) days from the date of the recommendation pursuant to 28 U.S.C. §63 6(b)(l)(B).

CONSENT

I hereby declare my intention to enter a plea of guilty in the above case and I request and consent to the
United States Magistrate Judge conducting the proceedings required by Rule ll, F.R.Cr.P. incident to the making
of such plea. I understand that if my plea of guilty is then accepted by the District Judge, the District Judge will
decide Whether to accept or reject any plea agreement I may have with the United States and Will adjudicate guilt

and impose sentence.
I acknowledge receipt of this document, given to me on this date.

  

Date: March l, 2019

 

 

CAR§$I;YN `KEN}A DAVIS Sefendant’s Attorney

